Case 1:04-cv-01342-.]DT-STA Document 34 Filed 06/22/05 Page 1 of 2 Page|D 7

UNlTED STATES DlS`l`RICT COURT
V\/ESTERN DISTRICT OF TENNESSEE
EASTER.N DIVISION

DWIGHT B. WALKER, personal
representation of the F,state of
'\/VU_LIE MAE WAI_KER,

 

Pla,in_titf,
-»vs/ Case No: 1:04/CV»01342/T/TA
GREYHOUND BUS ]_INES and ARC
lNTERNATIONAL CORP. d/b/a TRANS
USA CORPORAT[ON,

Defendants.

 

ORDER GRAN'I`ING LEAVE FOR PLAINTIFF TO
FILE SECOND AMENDED COMPLAINT

Tbis matter having come before the Court pursuant to Plaintiff`s Motion for Order Granting
Leave to File Second Am ended Comp]_aint, and the court having had benefit of review of supporting
M emoranduni; and further, that consultation Was conducted With counsel For the respective parties
pursuant to L.R. 72 and there appearing to be no objection or opposition;

NOW, THEREFORE,

['I` ],S HEREBY ORDERED that Plaintiff be granted leave to file his Second Amen ded

Coinplaint attached as EXhibit A to Plaintiff’s Motion for Order Granting Leave to File Second

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%M / U.S. DISTR[CT COURTJ'UDGE
Date: U 'ZZ'. 2005

Amended Coniplaint.

This document entered on the docket she_a‘/k ln§omp§nm
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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:04-CV-01342 Was distributed by faX, mail, or direct printing on
.1 une 23, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

